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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11 ELIZABETH CHAVIRA, on                  )   CASE NO. SACV-13-0890 JVS
   behalf of herself and her two          )
12 minor daughters, C.R. and M. R.,       )   ON SPECIAL JURY VERDICT AND
   as their guardian ad litem,            )   STIPULATED JUDGMENT FOR COSTS
13                                        )
             Plaintiff,                   )   DATE: TRIAL: JANUARY 12- 14, 2016
14                                        )   COURTROOM: 10C - assigned for all
             v.                           )   purposes to Judge James V. Selna
15                                        )
       J. CHAVEZ, et al.,                 )   COMPLAINT FILED: JUNE 13, 2013
16                                        )
             Defendants.                  )
17                                        )
                                          )
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20           This action came on regularly for trial as to DEFENDANT ANTONIO
21     RAMIREZ on the Fifth Cause of Action for Domestic Violence of the Second
22     Amended Complaint on January 12, 13, and 14, 2016, in Department 10C of the
23     above-entitled Court, located in Santa Ana, California, the Honorable S. James
24     Selna , Judge Presiding. Plaintiff Elizabeth Chavira appeared by Attorney Patricia
25     J. Barry, (SBN 59116), 634 S. Spring St ., Ste 823, Los Angeles, CA 90014; Tele
26     213.995.0734; Fax 213.995.0735; joanbarrylegal@yahoo.com. Defendant
27     appeared by Attorney Richard Fannan, (SBN 76364), 2018 Alpha Street, South
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 1     Pasadena, CA 91030, Tele (323) 340-8957; Fax (323) 340-1905; Email:
 2     richard@fannanlaw.com.
 3           A jury of eight (8) persons was regularly impaneled and sworn
 4     /acknowledged and agreed to try the cause. Witnesses were sworn and testified.
 5     After hearing the evidence and arguments of counsel, the jury was duly instructed
 6     by the Court and the cause was submitted to the jury with directions to return a
 7     special verdict on special issues. The jury deliberated and after, returned to court
 8     with its special verdicts on special issues submitted to the jury and the answers
 9     given thereto by the jury, which verdicts were in words and figures as follows:
10                                          VERDICT:
11           We, the jury in the above-entitled case, find unanimously as follows:
12           1.     Did the defendant ANTONIO RAMIREZ engage in domestic violence
13                  against Plaintiff ELIZABETH CHAVIRA? Place an “x” next to the
14                  answer.
15                  X      YES
16           2.     What are the damages Defendant caused Plaintiff as a result of the
17                  domestic violence?
18                  $175,000.00.
19           3.     Did Plaintiff prove by clear and convincing evidence that Defendant
20                  engaged in the domestic violence against Plaintiff with malice or
21                  oppression?
22                  X      YES
23           Signed by [] FOREPERSON, JANUARY 14, 2016
24                            VERDICT ON PUNITIVE DAMAGES
25           We, the jury in the above-entitled case, find unanimously as follows:
26           Plaintiff Elizabeth Chavira is entitled to punitive damages in the amount of:
27           $10,000.00.
28           Signed by [], FOREPERSON, JANUARY 14, 2016



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 1             It appearing by reason of said verdicts that PLAINTIFF ELIZABETH
 2     CHAVIRA is entitled to judgment against DEFENDANT ANTONIO RAMIREZ.
 3             IT IS ORDERED, ADJUDGED, AND DECREED that PLAINTIFF
 4     ELIZABETH CHAVIRA have and recover from DEFENDANT ANTONIO
 5     RAMIREZ damages in the amount of $175,000.00 and punitive damages in the
 6     amount of $10,000.00 with interest thereon from the date of this Judgment until
 7     paid.
 8             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that
 9     pursuant to the stipulation of counsel for the plaintiff and defendant that
10     PLAINTIFF ELIZABETH CHAVIRA also have and recover from DEFENDANT
11     ANTONIO RAMIREZ the amount of ____ costs of suit with interest thereon from
12     the date of this Judgment until paid, as determined by the Clerk.
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16     DATED: JANUARY 29, 2016                 ____________________________
                                                    HONORABLE JAMES V. SELNA,
17                                                   U. S. DISTRICT JUDGE
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